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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al., 1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                                      CERTIFICATE OF SERVICE

      I, Michael Villa, depose and say that I am employed by Kurtzman Carson Consultants LLC
(KCC), the claims and noticing agent for the Debtors in the above-captioned case.

        On February 14, 2024, at my direction and under my supervision, employees of KCC
caused to be served the following documents via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Second Interim Application of Silverman Consulting for Allowance of Compensation
         and Reimbursement of Expenses for the Period from October 1, 2023 to and
         Including December 31, 2023 [Docket No. 974]

    •    First Interim Application of Womble Bond Dickinson (US) LLP for Compensation
         for Services Rendered and Reimbursement of Expenses as Co-Counsel for the
         Debtors and Debtors-in-Possession for the Period from October 6, 2023 Through
         December 31, 2023 [Docket No. 976]

    •    Second Interim Fee Application of Kurtzman Carson Consultants LLC, as
         Administrative Advisor to the Debtors, for the Period from October 1, 2023 Through
         and Including December 31, 2023 [Docket No. 983]

    •    Second Interim Application of Baker & Hostetler LLP for Allowance of
         Compensation and Reimbursement of Expenses for the Period from October 1, 2023
         to and Including December 31, 2023 [Docket No. 985]

    •    Second Interim Fee Application of Jefferies LLC as Investment Banker for the
         Debtors and Debtors in Possession for Compensation for Professional Services
         Rendered and Reimbursement of Expenses Incurred for the Period from October 1,
         2023 to and Including December 31, 2023 [Docket No. 986]

1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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   •   Second Interim Application of White & Case LLP for Allowance of Compensation
       and Reimbursement of Expenses for the Period from October 1, 2023 to and
       Including December 31, 2023 [Docket No. 987]

Dated: February 21, 2024
                                             /s/ Michael Villa
                                             Michael Villa
                                             KCC
                                             222 N Pacific Coast Highway, 3rd Floor
                                             El Segundo, CA 90245
                                             Tel 310.823.9000




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                    Exhibit A
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                                                               Exhibit A
                                                      Fee Application Service List
                                                       Served via Electronic Mail


          Description                    CreditorName               CreditorNoticeName                      Email
 Counsel to the Official                                        Matthew A. Sawyer, Sharon msawyer@brownrudnick.com;
 Committee of Equity Security                                   I. Dwoskin, Tristan G.      sdwoskin@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Axelrod                     taxelrod@brownrudnick.com
 Counsel to the Official                                        Robert J. Stark, Bennett S. rstark@brownrudnick.com;
 Committee of Equity Security                                   Silverberg, Michael S.      bsilverberg@brownrudnick.com;
 Holders                          Brown Rudnick LLP             Winograd                    mwinograd@brownrudnick.com
 Debtors                          Lordstown Motors Corp.        Attn: Adam Kroll            Email Redacted
 Counsel to the Official
 Committee of Equity Security                                   Eric J. Monzo, Brya M.     emonzo@morrisjames.com;
 Holders                          Morris James LLP              Keilson                    bkeilson@morrisjames.com
                                  Office of the United States                              USTPRegion03.WL.ECF@USDOJ.GOV;
 US Trustee for District of DE    Trustee Delaware              Benjamin Hackman           benjamin.a.hackman@usdoj.gov
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton David M. Fournier, Tori L.      david.fournier@troutman.com;
 Creditors                        Sanders LLP              Remington                       tori.remington@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Deborah Kovsky-Apap             deborah.kovsky@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Francis J. Lawall               francis.lawall@troutman.com
 Counsel to the Official
 Committee of Unsecured           Troutman Pepper Hamilton
 Creditors                        Sanders LLP              Sean P. McNally                 sean.mcnally@troutman.com
 Co-Counsel for the Debtors
 and Debtors-in-Possession        White & Case LLP              David M. Turetsky          david.turetsky@whitecase.com
 Co-Counsel for the Debtors
 and Debtors-in-Possession        White & Case LLP              Jason N. Zakia           jzakia@whitecase.com
                                                                                         rkampfner@whitecase.com;
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 and Debtors-in-Possession        White & Case LLP              Kim, RJ Szuba            rj.szuba@whitecase.com
                                                                                         tlauria@whitecase.com;
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 and Debtors-in-Possession        White & Case LLP              C. Brown, Fan B. He      fhe@whitecase.com
 Local Co-Counsel for the
 Debtors and Debtors-in-          Womble Bond Dickinson         Donald J. Detweiler,       don.detweiler@wbd-us.com;
 Possession                       (US) LLP                      Morgan L. Patterson        morgan.patterson@wbd-us.com




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                    Exhibit B
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                                                                           Exhibit B
                                                                  Fee Application Service List
                                                                   Served via First Class Mail

                      Description                   CreditorName        CreditorNoticeName    Address1 Address2        City    State Zip
                                              Office of the United                           844 King St
             US Trustee for District of DE    States Trustee Delaware   Benjamin Hackman     Ste 2207    Lockbox 35 Wilmington DE   19801




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